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        EXHIBIT A
            Case 3:21-cv-00009-DWD Document 1-1 Filed 01/06/21 Page 2 of 27 Page ID #11
                                                                                                                                  FILED
                                                                                                            Williamson Co. Circuit Court
                                                                                                                     1st Judicial Circuit
                                                                                                             Date: 11/17/2020 1:03 PM
                                                                                                                     Andrew W. Wilson


                                                  IN THE CIRCUIT COURT
                                                 FIRST JUDICIAL CIRCUIT
                                              WILLIAMSON COUNTY, ILLINOIS

              K.F.C, a minor, by and through her guardian,           )
              ERIN CLARK, individually and on behalf of              )
              all others similarly situated,                         )
                                                                     )                                                                      _
                      Plaintiff,                                     )
                                                                     )        Case No. 2020L 156
                                                                     )
              SNAP, INC.,                                            )
                                                                     )
                      Defendant.                                    )
                                                   CLASS ACTION COMPLAINT

                      Plaintiff K.F.C. minor, by and through her guardian, Erin Clark ("Plaintiff'), individually
-   --   ------   -            - --- ------    -    -    -- -- ---------- -
              and on behalf of all others similarly situated, brings this action against Snap, Inc. ("Defendant" or

             "Snap") and alleges the following, upon personal knowledge as to her own acts, and upon

              information and belief derived from, among other things, investigation of counsel, as to all other

              matters:
                                                        I. INTRODUCTION

                              Plaintiff brings this action against Snap under the Illinois Biometric Information

              Privacy Act, 740 ILCS 14/1, et seq. ("BIPA"), pursuant to which she seeks injunctive relief, as

              well as statutory damages recoverable under BIPA. BIPA prohibits private entities from collecting,

              capturing, purchasing, receiving through trade, or otherwise obtaining a person's biometric

              information unless it: (1) informs that person in writing that identifiers and information will be

              collected and/or stored, (2) informs the person in writing of the specific purpose and length for

              which the identifiers or information is being collected, stored or used, (3) receives a written release

              from the person for the collection of that data, and (4) publishes publicly available written retention

              schedules and guidelines for permanently destroying said data. See 740 ILCS 14/15(a) and (b). In
              addition (c) "No private entity in possession of a biometric identifier or biometric information may
             sell, lease, trade, or otherwise profit from a person's or a customer's biometric identifier or
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biometric information." 740 ILCS 14/15(c). This action alleges that Snap violated these three
provisions of BIPA.
        2.       Developed, owned, operated, and exclusively controlled by Defendant, Snap,
Snapchat ("Snapchat") "is a camera application ("app") that was created to help people

communicate through short videos and images called `Snaps."'1 What started as a humble

company called "Future Freshman LLC" in 2010 has grown into a social media giant in the decade

since. According to Snap's investor information, the application has, on average, 238 million

active users exchanging over 4 billion snaps per day? Snap boasts that "[o]ver 75% of the 13-34

year old U.S. population uses Snapchat."3

        3.       One reason why Snapchat is so popular is because Snap represents that "Snaps"
                                                                                                                           ---
only exist for a finite period - usually just a few seconds, so that the user can send silly "Snaps"                   -         -




which purportedly self-delete.

        4.       But what really happens to the 4 billion snaps that get sent through the application

each day? For any posted content not set as "Public Content," Snap's Terms of Service state that

users give "Snap Inc. and our affiliates a worldwide, royalty-free, sublicensable, and transferrable

license to host, store, use, display, reproduce, modify, adapt, edit, publish and distribute that

content."

         5.      What Snap fails to disclose is that through its Snapchat app it collects and profits

from Plaintiff's and other similarly situated Illinois users' "biometric identifiers" ("biometrics")

without their informed, written consent. Snap's collection of these biometrics without the consent,

or appropriate notice to users, is in violation of BIPA. For example, one of Snapchat's most popular

features, "Lenses," which allows users to add special effects to their Snapchat photos, works by

scanning the geometry of a person's face in Snaps, which is a violation of BIPA.

        6.       Plaintiff brings this action individually and on behalf of other similarly situated

' S.E.C. Form 10-Q, Snap, Inc. (for the quarterly period ended June 30, 2020), at 11.
Z Investor Relations, "Overview", SN,4P INC., https://investor.snap.com/overview/default.aspx (last visited Nov. 16,

2020).
' Id


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Illinois residents for willful violations of the BIPA statute, which is punishable up to $5,000 per

reckless violation.

                                            H. PARTIES

        7.      Plaintiff K.F.C., by and through her guardian, Erin Clark (mother), is a minor child

and a resident and citizen of the State of Illinois. Plaintiff K.F.C. is a 13-year-old former Snapchat

user. Plaintiff downloaded the Snapchat app in Illinois, routinely used Snapchat in Illinois, has

used numerous Lenses in her Snaps in Illinois, and has sent from Illinois Snaps with Lens effects

to other Snapchat users. The relevant scans of Plaintiff's face in her Snaps occurred in Illinois, and

the violations of BIPA alleged herein occurred primarily and substantially within Illinois. Plaintiff

was unaware of and did not agree to the collection or storage of her biometric identifiers. Plaintiff

K.F.C. is a minor and cannot be bound to any agreement Snap may say applies. Plaintiff hereby

disaffirms and disavows any contract or agreement Snap may say applies to her. Plaintiff ceased

using Snapchat prior to the filing of this complaint.

        8.      Defendant Snap, Inc. is a Delaware corporation with its principal place of business

located at 2772 Donald Douglas Loop North, Santa Monica, California 90405. Snap, Inc. is a

publicly-traded company, and is listed on the New York Stock Exchange under the trading symbol

"SNAP."

                                       III. JURISDICTION

        9.      This is a Class Action Complaint for violations of the Illinois Biometric

Information Privacy Act (740 ILCS 14/1, etseq.) seeking statutory and actual damages.

        10.     This Court has subject matter and personal jurisdiction over the parties to this cause

of action. Plaintiff is a citizen of Illinois, and resides in Williamson County, Illinois.

        11.    This Class Action is brought on behalf of only Illinois citizens within the State of

Illinois who had their respective biometric information collected by Defendant within the State of

Illinois.




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        12.     Consistent with the Due Process Clauses of the Fifth and Fourteenth Amendments,

 this Court has in personam jurisdiction over the Defendant because it conducts commerce in the

 State of Illinois, and is therefore present in the State of Illinois such that requiring an appearance

 does not offend traditional notions of fair play and substantial justice.

        13.     Plaintiff had her biometric identifiers captured, collected, stored or used by the

 Defendant in Williamson County, Illinois. Accordingly, venue is proper under 735 ILCS 5/1-108

     2-101 of the Illinois Code of Civil Procedure.

                              IV. SUBSTANTIVE ALLEGATIONS
        A.      The Illinois Biometric Information Privacy Act.

        14.     BIPA .was___passed in 2008 in__order to address the _"very__ serious need _[for]___.___.

 protections for the citizens of Illinois when it [comes to their] biometric information." Illinois

 House Transcript, 2008 Reg. Session No. 276. Specifically, the legislature's findings were as

 follows:

        (a)     The use of biometrics is growing in the business and security screening
                sectors and appears to promise streamlined financial transactions and
                security screenings.



        (f)     The full ramifications of biometric technology are not fully known.

        (g)     The public welfare, security, and safety will be served by regulating the
                collection, use, safeguarding, handling, storage, retention, and destruction
                of biometric identifiers and information.


        15.     BIPA defines a biometric identifier as follows:


        "Biometric identifier" means a retina or iris scan, fingerprint, voiceprint, or scan
        of hand or face geometry.



        "Biometric information" means any information, regardless of how it is captured,



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        converted, stored, or shared, based on an individual's biometric identifier used to
        identify an individual.

 740 ILCS 14/5 (emphasis added).


        16.    The statute also governs the retention, collection, disclosure, and destruction of

 retained biometric identifiers or biometric information, and prohibits a private company from

profiting from biometric identifiers:

        (a)    A_pri_v_ate entityin_possession_of—biometric_identifiers_orbiometr_ic
               information must develop a written policy, made available to the public,
               establishing a retention schedule and guidelines for permanently destroying
               biometric identifiers and biometric information when the initial purpose for
               collecting or obtaining such identifiers or information has been satisfied or
               within 3 years of the individual's last interaction with the private entity,
               whichever occurs first.



        (b)    No private entity may collect, capture, purchase, receive through trade, or
               otherwise obtain a person's or a customer's biometric identifier or biometric
               information, unless it first:

               (1)      informs the subject or the subject's legally authorized representative
                        authorized representative in writing that a biometric identifier or
                        biometric information is being collected or stored;

               (2)      informs the subject or the subject's legally authorized representative
                        in writing of the specific purpose and length of term for which a
                        biometric identifier or biometric information is being collected,
                        stored, and used; and

               (3)      receives a written release executed by the subject of the biometric
                        identifier or biometric infoi-mation or the subject's legally authorized
                        representative.

               (c)      No private entity in possession of a biometric identifier or biometric
                        information may sell, lease, trade, or otherwise profit from a
                        person's or a customer's biometric identifier or biometric
                        information.

 740ILCS 14/5(a)-(c).




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          B.       Snapchat Is A Social Media Application Used To Send Photos And Videos To
                   Other Snapchat Users.
          17.      Snapchat "is a camera application that was created to help people communicate
through short videos and images called `Snaps."'4 According to Snap's investor information, the

application has, on average, 238 million active users exchanging over 4 billion snaps per day.s
Snap boasts that "[o]ver 75% of the 13-34 year old U.S. population uses Snapchat."6

          18.      Within the application, Lenses and Filters are two very popular features that allow

users_to_change_their-appearance,-including-to-their_faces,-in-Snaps.Lenses-allo-w-user-s-to-add

special effects to their Snaps, including editing their appearances, as well as their voices. Filters

work by acting as a design overlay over Snaps - similar to adding a preexisting frame or overlay

to Snaps.

          19.      Snapchat users can use many default Lenses and Filters that are provided within

the Snapchat application. They can also create their own custom Lenses and Filters using Snap's

Lens Studio, which is a program offered by Snap for free download. Each time a Lens or Filter is

used, Snap scans the image of the user's face to create a detailed map of the user's facial features,

and their connection to one another.

          C.       Snap violates BIPA.

                   1.        Plaintiff's use of Snapchat.

          20.      Plaintiff is a 13-year-old child who lives, and at all relevant times has lived, in the

State of Illinois and used Snapchat in Illinois. In addition to sending Snaps to other users, Plaintiff

used in Illinois various aspects of the application that change the appearance of her face in Snaps,

including numerous Lenses, that were sent from Illinois to other Snapchat users. One of the Lenses

that Plaintiff used was "Devil's Heart" - a Snapchat Lens that alters the image of a person's face

so that she appears to have freckles on the nose and cheeks, as well as devil's horns on the forehead



4   S.E.C. Form 10-Q, Snap, Inc. (for the quarterly period ended June 30, 2020), at 11.
5 Investor Relations, Overview, Sr1Ar INC., https://investor.snap.com/overview/default.aspx (last visited Nov. 16,
2020).
6   Id


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 above the eyes.
                                    - -                                       - -           - -                      -   -.
                     2.       Snapchat Collects, Captures or Otherwise Obtains Faceprint/Facial
                              Biometric Identifiers.

            21.      Four years ago, on September 15, 2015, a Ukrainian "selfie" animation phone

 application called Lookseiy mysteriously disappeared from App Stores.7 On the very same day,

 September 15, 2015, Snap launched a new component of its own application, which it called

"Lenses."g It was later confirmed that Looksery and its application technology were acquired by

 Snap9 for approximately $150 million dollars.10 According to Business Insider, "[Looksery] uses

 facial recognition technology to essentially photoshop video chats and messages in real time."11

 TechCrunch, a respected online publisher of tech-industry focused content, published an article in

 September 20i5 titled "SnapchatAcquires Looksery- To-Power Its Animated L-enses:"12 That                                --- ----

 article compared what it called Looksery's facial recognition, as compared to Snapchat's Lenses,

to show how similar they are:




            Looksery's facial recognition on the left, Snapchat's seemingly identical facial recognition

 on the right. 13

' Josh Constine, Snapchat Acquires Looksery to Power its Animated Lenses, TECHCRUNCH (Sept. 15, 2015),
https://techcrunch.com/2015/09/ 15/snapchat-looksery/?guccounter=l.
 $ Id.
 9    Id
 10 Alyson Shontell, Snapchat huys Looksery, a 2year-old startup that lets you Photoshop your face while you video

 chat, BUsiNEss INSIDER (Sept. 16, 2015), https://www.businessinsider.in/Snapchat-buys-Looksery-a-2-year-old-
 startup-that-lets-you-Photoshop-your-face-whi le-you-video-chat/articleshow/489785 63.cros.
 11
    Id
" See https://techcrunch.com/2015/09/15/snapchat-looksery/?guccounter=l, supra n.8.
 13    https://techcrunch.com/2015/09/15/snapchat-looksery/?guccounter=l, supra n.8.


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                   22.    Evidently, both use numerous points of facial landmarks from Snaps, which are
    _ ..                                       -        . -                -    « --
           connected by liries to create a facial -map; in other words, they are scan[s] of ... face geometry,
           a biometric identifier pursuant to BIPA. 740 I.L.C. 14/10.
                   23.      Snap does not make the disclosures required by BIPA and does not obtain informed

           consent of users in violation of BIPA.

                   24.      Snap continues to offer and operate the Lenses feature on its platform. Following

           Snapchat's integration of Looksery's technology, Looksery's founder, Victor Shaburov, joined the

           Snapchat team in an effort to successfully integrate the technology that he helped create.

           Subsequently, Shaburov become Snapchat's director of engineering before leaving to start a new

           company in 2018 (which was also acquired by Snapchat).14
-                                                                                          -- -- -   -- -
                   25.      Snapchat's Lens Studio is a free software program owned by Snap that allows users

           to create their own unique effects beyond those already available to all users within the Snapchat

           application. Snap describes the Lens Studio as follows: "The World Is Your Canvas. ... With a

           huge set of built-in features, including .... advanced tracking technology, the possibilities are

           endless." ls

                   26.      Within the Lens Studio webpage, Defendant explains how Lenses are created, and

           how they work. This explanation evidences that Lenses utilize biometric identifiers, specifically,

           a"scan of ... face geometry," as defined by BIPA. 740 I.L.C. 14/10. For example, under the

           "Learn" heading in the Lens Studio, Snap discusses various types of effects that distort and change

           a person's face — effects which would not exist but for a facial mapping or scanning of a person's

           face in a Snap by Snapchat. As Lens Studio states with respect to one of the Lenses that is supposed

           to stretch a person's face: "The Face Stretch Effect distorts the shape of the face by manipulating

           points mapped to the face" 16 (emphasis added).

           11  Ingrid Lunden, Snapchat quietly acquired AI Factory, the company behind its new Cameos feature, for $166M,
           TECHCRUNCH (Jan. 3, 2020), https://techcrunch.com/2020/01/03/snapchat-quietly-acquired-ai-factory-tlie-company-
           behind-its-new-cameos-feature-for-166m/.
           is Lens Studio, SNAP INC., https://lensstudio.snapchat.com/ (last visited Nov. 16, 2020).
           16 Lens Studio, Learn, Templates, Distort, SNAP INC., https://lensstudio.snapchat.com/templates/face/distort/ (last
           visited Nov. 16, 2020).


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         27.       The Face Stretch Effect and the mapping of the various points on a person's face
                           -                                                                        -            --
 cari be -seen in this image, which is consistent with the tecfinology Snap acquired from Looksery:




         28.     Lenses allow users to apply many effects to their own faces, from cartoonish effects

 like bug-eyes, face stretching and other distortions, to subtle make-up effects, such as smoothing

 facial texture, altering eye color, whitening teeth, and softening the skin.l7

         29.     According to Snap, the "Face Landmarks" tool in the Lens Studio captures 93

 points on each user's face and allows for manipulation of the distance between two points on the

 map of the face. Snap touts that "Face Landmarks are great if you want to track specific parts of

 the face since you have 93 points to attach to," stating as follows in relevant part:

         Face Landmarks are 93 points that are tracked with the user's face. Like Object
         tracking, the position of the points are in screen space. Face Landmarks are great if
         you want to track specific parts of the face since you have 93 points to attach to.
         You can also make fun interaction by getting distance between two of the
         landmarks and make interaction based on the distance.
 Id.




 " Lens Studio, Learn, Templates, Face Retouch, https://lensstudio.snapchat.com/guides/face/face-effects/face-
 retouch/.


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              30.     The Lens Studio user can even shift into "Points Mode," which gives a display of
-                          --                                                                                          . ..
     each of the important facial points that the application maps and uses; th'is can be seen in- this
     image:




              31.     Facial mapping, which measures, compares, and tracks the "landmarks" of a

     person's face, and the distance between the landmarks, as demonstrated in Snapchat's own

     explanations of its Lens technology, are evidently biological-based measurements from a"scan of

     ... face geometry." 740 ILCS 14/10.

              32.     Additionally, Snapchat's Filters tool also scans facial geometry in violation of

     BIPA. Filters are similar to Lenses, however Filters are "frames and artwork" that can be applied

     to Snaps, whereas Lenses are "augmented reality experiences friends can play with."Ig

              33.     According to an article written by James Le, the editor of Cracking the Data Science

     Interview, titled "Snapchat's Filters: How computer vision recognizes your face," the application
     of extracting facial landmarks is applied to Filters as well. Specifically, he states that, "[flor each



     i$ Filters & Lenses, Create Your Own, Snap Inc., littps://www.snapchat.com/create (last visited Nov. 16, 2020).


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     detected face ... the local region coordinates for each member or facial feature of that face. This
-                                                                    --                                                    - --
     includes the eyes; bone, lips, nose, mouth .... coordinates - usually iri the -form of poin-ts .:.."
     (emphasis omitted).
              An example of a popular Snapchat Filter is one called "Old." The "Old" Filter, which was

     named one of the best Snapchat Filters of 2020, considerably ages a person's appearance in Snaps.

     It edits faces detected in the Snap by making the person's skin appear older, as well as turning hair

     grey.20 An example of this Filter can be seen below:

         O9d by SnapcFaat




             34.      Snap does not disclose that its Lenses and Filters collect, capture, or otherwise

     obtain biometric identifiers, and do not give to users, or receive from users, the informed written

     consent required by the statute prior to obtaining users' biometric identifiers. Snap does not

     disclose how the biometric identifiers are used, if they are shared with or sold to third parties, and

     if there is a purpose for the collection of these identifiers and information, in violation of BIPA.

             35.      Indeed, Snap tells users that Lenses are not facial recognition, which gives users

     false comfort about a subject it knows users are concerned about, namely the use of biometrics in

     consumer technology. Snap states the following on a section of its website it calls "Privacy by

     Product:"

     19 James, Le, "Snapchat's Filters: How computer vision recognizes your face: The science behind personalized facial
     recognition," 1VIEDIUM (Jan. 28, 2018), https://medium.com/cracking-the-data-science-interview/snapchats-filters-
     how-computer-vision-recognizes-your-face-9907d6904b91.
     20 Henry T. Casey,l9 best Snapchat filters in 2020, Tom's GLiIDE (July 27, 2020), https://www.tomsguide.com/round-
     up/best-snapchat-filters.


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                             Lenses

                             Ever wonder how Lenses swap your face with a friend's or give you puppy dog
                             ears? Some of the magic behind Lenses is due to "object recognition." Object
                             recognition is an algorithm designed to help a computer generally understand what
                             objects are in an image. In this case, it lets us know that a nose is a nose or an eye
                             is an eye. But, object recognition isn't the same as facial recognition. While Lenses
                             can tell.what is or isn't a face, they don't recognize specific faces!21
                             36.      BIPA does not contain the phrases facial recognition, or object recognition. BIPA

                   governs; r-elevant--to—this—case,—biometric—identi-fier-s,—which—means"a—scan—o.f—hand—or_face

                   geometry." 740 I.L.C. 14/10. Snap's statement in its Privacy Policy that its Lenses do not use facial

                   recognition is not relevant to whether it collects biometric ideritifiers.

                             37.      Plaintiff does not allege that Snap utilizes facial recognition. However, as noted
- .. .   .. - -         --    -   .    -   -- ---   --      --             -------    -   -   -   - ----------         -
                   above, respected tech publications have described Snap's Lenses as utilizing facial recognition

                   technology, and, indeed, patents, or patent applications, owned by Snap (or companies it acquired)

                   utilize the term facial recognition. If Snap is not using facial recognition currently, there is reason

                   to believe that at the least Snap has the technology to perform facial recognition, and is planning -

                   on using facial recognition in the future because it has a patent that claims expressly to be able to

                   perform facial recognition. In 2016 Snap obtained a patent (US9396354B1) described in the patent

                   application as follows:

                             SUMMARY OF THE INVENTION
                             A method executed by a computer includes receiving an image from a client device.
                             A facial recognition technique is executed against an individual face within the
                             image to obtain a recognized face. Privacy rules are applied to the image, where
                             the privacy rules are associated with privacy settings for a user associated with the
                             recognized face. A privacy protected version of the image is distributed, where the
                             privacy protected version of the image has an altered image feature.22 (emphasis
                             added).


                             38.      Moreover, a Looksery patent application (US20150195491A1), a company


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                          Privacy by Product, Snaps & Chats, SrIAP INC., https://www.snap.com/en-US/privacy/privacy-by-product (last
                   visited Nov. 16, 2020).
                   -' '- Google Patents, US9396354B1, GooGLE, https://patents.google.com/patent/US9396354 (last visited Nov. 16, 202).


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    acquired by Snap, claims to be able to identify individual faces:z3 '

            [0070]. According to various embodiments of this disclosure, a face in an image
            can.be identified by application of a Viola-Jones algorithm and ASM algorithm.
            In particular, a Viola-Jones algorithm is a fast and quite accurate method for
            detecting a face region on an image. An ASM algorithm is then applied to the face
            region to locate reference.,feature points associated with the face. These feature
            reference points can include one or more facial landmarks such as ala, philtrum,                -
            vermilion zonem, vermilion border, nasolabial sulcus; -labial- commissures, lip
            tubercle, nasion, outer canthos of eye, inner canthos of eye, and tragus of ear.
            Moreover, the feature reference points can include one or more of the following
            faci`al poins~in`dicaf in
                                   g: eyebrs ow vertic`al position, eyesvertical position,
            eyes' width, eyes' height, eye separation distance, nose's vertical position,
            nose's pointing up, mouth's vertical position, mouth's width, chin's width,
_           upper lip raiser; jaw drop~ lip stretcher, left brow lowerer; right brow lowerer,           -
            lip corner depressor, and outer brow raiser. FIG. 5 shows an example image of
            a face where multiple reference feature points are illustrated (emphasis added).

            [74] Further, the shape model specifies allowable constellations of landmarks. A
            shape of individual can be given by its shape vector x=(xi T)T, where xi is i-th
            facial landmark. The shape model generates the shape {circumflex over (x)} with...
            (emphasis added).

            39.     Although the foregoing patent application does not reference Lenses specifically,
    Lens effects are applied over video image Snaps as well as photos, and the same technology (or
    elements of it) may be utilized in the creation and application of Lenses. The patent's statement
    that the technology utilizes facial landmarks such as "eye separation distance ... nose's [SIC]
    pointing up" is consistent with the technology that Snap says is used in its Lenses. (Supra at
    paragraphs 27-30).
            40.     Use of Snapchat, which is the app owned, operated, and wholly controlled by Snap,
    is governed by its Terms of Service. Although plaintiff is a minor who has not entered into the
    contract and has disaffirmed it, as described above in the Parties section, the Terms of Service
    evidence that the content on Snapchat, which would include Snaps that have been altered with
    Lenses and Filters, is usable, storable, and modifiable by Snap:



    https://patents.google. com/patent/US20150195491A1/en


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                 For all content you submit to the Services other than Public Content, you grant Snap
                 Inc. and our affiliates a worldwide, royalty-free, sublicensable, and transferable
-                license to host, store, -use; -display, reproduce, modify, adapt, edit, publish, and
                 distribute that content. This license is for the limited purpose of operating,
                 developing, providing, promoting, and improving the Services and researching and
                 developing new ones.

                 Because Public Content is inherently public and chronicles matters of public
                 interest, the license you grant us for this content is broader. For Public Content, you
                 grant Snap Inc., our affiliates, and our business partners all of the same rights you
                 grant for non-Public Content in the previous paragraph, as well as a perpetual
                 license to create derivative works from, promote, exhibit, broadcast, syndicate,
                 publicly perform, and publicly display Public Content in any form and in any and
                 all media or distribution methods (now known or later developed). To the extent
                 it's necessary, when you appear in, create, upload, post, or send Public Content,
                 you also grant Snap Inc., our affiliates, and our business partners the unrestricted,
                 worldwide, perpetual right and license to use your name, likeness, and voice,                       '
                 including in connection with commercial or sponsored content.
                        3.      Snapchat Profits from Users' Biometric Identif ers.

                 41.     Snap profits from Snapchat users' biometric identifiers, in violation of BIPA, which

     prohibits private entities in possession of a biometric identifier from selling, leasing, trading, or

     otherwise profiting from a person's or a customer's biometric identifier. 740 I.L.C.S. 14/15. The

     Lenses and Filters attract users and have contributed to the user growth of the Snapchat application.

     This increase in users, in turn, attracts advei-tisers who pay Defendant to advertise within its

     application.

                 42.    In the fourth quarter of 2014, Snapchat had approximately 71 million users, the

     bulk of whom were in North America.24 Following the introduction of the Lenses and Filters in

     September 2015, Snapchat's userbase grew to 107 million users.25 The increase in users has a

     direct correlation to an increase in revenue, the majority of which comes from advertisers26 In the

     fourth quarter of 2014, Snapchat earned approximately $3 million.27 But by the fourth quarter of


     '-4Snap Inc. Revenue and Usage Statistics (2020), BUSINESS OF APPS, https://www.businessofapps.com/data/snapehat-
     statistics/# 1 (last updated Oct. 30, 2020).
     2s    Id.
     '-6   Id.
     '-1 Alyson Shontell, Snapchat generated only $3.1 million last year, BUSINESS INSmER (Aug. 19, 2015),
     https://www.businessinsider.com/snapchat-only-generated-31-million-last-year-2015-8.


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 2015, its revenue ballooned to $32.7 million and, with a few quarterly exceptions, has steadily
 increased to revenue in the amount of $454 million in the second quarter of 2020.28 Significantly,
 advertiser-sponsored Lenses are currently Snapchat's most expensive offerings to advertisers, with

 ad rates ranging from $450,000 to $700,00029 In short, Snapchat's offering of Lenses, which

 collect users' biometric identifiers, directly contributes to Defendant's advertising profits, in

 violation of BIPA. 740 I.L.C.S. 14/15.

                   4.     Snapchat Has a I)ubious History Regarding User Privacy.

             43.   In December of 2014, the Federal Trade Commission alleged that Snap (at the time

 named Snapchat; Inc.) violated the Federal Trade Commission Act. In the Matter of Snapchat,

 Inc., a corporation, Docket No. C-4501 (F.T.C. Complaint, Dec. 2014).

             44.   Those charges claimed Snapchat deceive(d/s) users in the following ways: the

 representation that "when sending a message through the application, the message will disappear

 forever after the user-set time expires" was false and misleading, the representation that users will

 be notified if a screenshot is taken of their "Snap" was false and misleading, the representation

 that Snapchat does not collect geolocation information was false and misleading, the representation

 that Snapchat does not harvest a user's contacts information was false and misleading, the

 representation that Snapchat only collects email, phone number, and Facebook ID when "finding

 friends" was false and misleading, and the representation that Snapchat protects user information

 from misuse and unauthorized disclosure was false and misleading. Id. The matter was resolved

 by settlement with Snap neither admitting nor denying wrongdoing. The settlement required Snap

 to agree to change its privacy disclosures and to otherwise strengthen user privacy.

             45.   In 2019, an investigative report by Vice revealed that Snapchat not only has the

 tools to spy on users, but that employees had abused these tools previously.30 That report relied

 on former Snapchat employees and revealed that "multiple Snap employees abused their access to

 zs Id.
 '-9   Id.
 30 Joseph Cox, Snapchat Employees Abused Data Access to Spy on Users, MOTIIE1zBoAItD TECx BY VICE (May 23,
 2019), https://www.vice.com/en us/article/xwnva7/snapchat-employees-abused-data-access-spy-on-users-snaplion.


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 Snapchat user data .... additional ... employees, a current employee, and a cache of internal

 company emails obtained by [Vice], described internal tools that allowed Snap employees at the

 time to access user data, including in some cases location information, their own saved Snaps and

 personal information such as phone numbers and email addresses."31 According to that report,

 "[o]ne of the internal tools that can access user data is called SnapLion ....[t]he tool was originally

 used to gather information on users in response to valid law enforcement requests ...." 32

           46.    These specific allegations were not denied by Snapchat. Rather, in a released

 statement, Snap vaguely claimed: "Protecting privacy is paramount at Snap. We keep very little

 user data, and we have robust policies and controls to limit internal access to the data we do have.

 Unauthorized access of any kind is a clear violation of the company's standards of business
                                                          -»33-- -- - - -           - - - - - ------- -    --
 conduct and,if detected, results in immediate termination.

                                     V. CLASS ALLEGATIONS

           47.    This action is brought by the named Plaintiff on her own behalf and on behalf of a

 proposed Class of all other persons similarly situated, pursuant to 735 ILCS 5/2-801, et seq.,

 defined as follows:

           All Illinois citizens whose biometric information or biometric identifiers were
           collected, captured purchased, received through trade, or otherwise obtained by
           Snap by, among other means, using Snap's Lenses and/or Filters, in Illinois , in
           violation of the Illinois Biometric Information Privacy Act, 740 ILCS 14/5 et. seq.

           48.    All members of the proposed Class are citizens of Illinois. The principal injuries

 resulting from the alleged conduct or any related conduct of each Defendant were incurred in

 Illinois. On information and belief, no other class action is pending asserting the same or similar

 factual allegations against any of the defendants on behalf of the same or other persons.




 31
      Id
 32 IQ i
 33
      Id


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                    49.        The Plaintiff is the master of their complaint and cause. Plaintiff specifically

            excludes from the proposed class the claims of any non-Illinois citizen; any and all claims against

            any non-Illinois citizens; any other claims, including claims for personal injury, wrongful death,

            or other property damage sustained by the Class; and any Judge conducting any proceeding in this

            action and members of their immediate families.

                    50.        The Class is so numerous that the individual joinder of all members is

            impracticable. While the exact number of Class members is unknown at this time, it is generally

          - ascertainable by appropriate discovery, is in the exclusive control of the Defendants, and it is

            believed that the Class may include at least thousands of inembers.
--- ---      -                 - -----------             -   -----------          -- - -----    -            ----- -- ------   - -
                    51.        Common questions of law or fact arising from the defendants' conduct exist as to

            all members of the Class, as required by 735 ILCS 5/2-801. These common questions include, but

            are not limited to, the following:

                          a.        Whether the Defendant captured, or collected, the biometric identifiers of the
                                    Plaintiff and the Class.
                          b.        If Defendant captured, or collected, the biometric identifiers of the Plaintiff and
                                    the Class, did the Defendant inform the Plaintiff and the Class in writing that a
                                    biometric identifier was being collected or stored?
                          C.        If Defendant captured, or collected, the biometric identifiers of the Plaintiff and
                                    the Class, did the Defendant inform the Plaintiff and the Class in writing of the
                                    specific purpose and length of term for which a biometric identifier was being
                                    collected, or captured?
                          d.       If Defendant captured, or collected, the biometric identifiers of the Plaintiff and
                                   the Class, did the Defendant receive a written release executed by the Plaintiff
                                   and the Class of the biometric identifier, or the Plaintiff's or Class' legally
                                   authorized representative?
                          e.       If Defendant captured, or collected, the biometric identifiers of the Plaintiff and
                                   the Class, did the Defendant develop a written policy, made available to the
                                   public, establishing a retention schedule and guidelines for permanently
                                   destroying biometric identifiers when the initial purpose for collecting or
                                   obtaining such identifiers has been satisfied, or within 3 years of the
                                   individual's last interaction with the private entity, whichever occurs first?
                          f.       If the Defendant captured, or collected, the biometric identifiers of the Plaintiff


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                       and the Class, did the Defendant profit from the biometric identifiers of the
                       Plaintiff and the Class?
         52.        Class action treatment provides a fair and efficient method for the adjudication of

 the controversy herein described, affecting a large number of persons, joinder of whom is

 impracticable. The class action device provides an appropriate and effective method whereby the

 enforcement of the rights of Plaintiff and members of the Class can be fairly managed without

 unnecessary expense or duplication The expense and burden of individual litigation of a case of

 this magnitude makes it impracticable for individual Class members to seek redress for the wrongs

 worked upon them.                                                                  -

         53.        Individual litigation of all claims which might be asserted by all Class members

 would produce such a multiplicity of cases that the judicial system having jurisdiction of the claims

 would remain congested for years. The certification of a Class would allow litigation of claims

 that, in view of the expenses of litigation, may be insufficient in amounts to support separate

 actions. Concentrating this litigation in one forum would aid judicial economy and efficiency,

 promote parity among the claims of individual Class members, and result in judicial consistency.

         54.        Plaintiff will fairly and adequately protect the interests of the Class Plaintiffs

 represent. The interests of Plaintiff, as the Class representative, are consistent with those of the

 members of the Class. In addition, Plaintiff is represented by counsel experienced in complex and

 class action litigation.

         55.        The prosecution of separate actions by individual members of the Class would

 create a risk of:

               a.      Inconsistent or varying adjudications with respect to individual members of the
                       Class; and




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               b.      Adjudication with respect to individual members of the Class which would, as
                       a practical matter, be dispositive of the interests of other members not parties
                       to the adjudication or substantially impair or impede their ability to protect their
                       interests.

         56.        Plaintiff and Class members envision no unusual difficulty in the management of

 this action as a Class action.


                                       VI. CAUSES OF ACTION


        Violation of the Illinois Biometric Information Privacy Act, 740 ILCS 14/15(a)
                               On Behalf of Plaintiff and The Class
         57.        Plaintiff incorporates by reference all of the foregoing allegations as if fully set

 forth herein.

         58.        BIPA requires that "[a] private entity in possession of biometric identifiers or

 biometric information must develop a written policy, made available to the public, establishing a

 retention schedule and guidelines for permanently destroying biometric identifiers and biometric

 information when the initial purpose for collecting or obtaining such identifiers or information has

 been satisfied or within 3 years of the individual's last interaction with the private entity, whichever

 occurs first." 740 ILCS 14/15(a).

         59.        Snap is a private entity under BIPA.

         60.        Plaintiff and putative Class members are members of the public and users of

 Defendant's Snapchat application.

         61.        When users use Lenses or Filters on the Snapchat app, the app takes a scan of the

 user's facial geometry from the digital image and videos created when users create Snaps.

 Accordingly, Snap collects, and is in possession of, biometric identifiers.

         62.        Snap did not provide to Plaintiff and putative Class members a publicly available

 retention schedule or guidelines for permanently destroying users' biometric identifiers when the

 initial purpose for collecting such identifiers was satisfied or within 3 years of Plaintiff and Class

 members' last interactions with Snapchat, as required by BIPA. Thus, Snap violated Section 15(a)



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           of BIPA. Snap's violations actually harmed or posed a material risk of harm to the privacy interests

           that BIPA seeks fo protect.

                  63.     Snap's violations of BIPA were intentional and/or reckless, or, alternatively,

           negligent.

                                                     COUNT II
                  Violation of the Illinois Biometric Information Privacy Act, 740 ILCS 14/15(b)
                                         On Behalf of Plaintiff and The Class
                  64.     P-laintiff-incor-porates-b-y-refer-ence-al.l-o.f-the_foregoing_allegations-as-i~fulLy_se.t

          forth herein.

                  65.     BIPA makes it illegal for a private entity to "collect, capture, purchase, receive

          through trade, or otherwise obtain a person's or a customer's biometric identifiers and biometric
- -   --------            -   ----                                -            -- -----------            - --   - ------.
          information unless it first: (1) informs the subject ... in writing that biometric identifiers and

          biometric information is being collected or stored; (2) informs the subject ... in writing of the

          specific purpose and length of term for which a biometric identifier or biometric information is

          being collected, stored and used; and (3) receives a written release executed by the subject of the

          biometric identifier or biometric information ..." See 740 ILCS 14/10.

                  66.     Snap is a private entity under BIPA.

                  67.     Plaintiff and putative Class members are individuals who had their biometric

          identifiers and/or biometric information, in the form of a scan of their face geometry, collected,

          captured, purchased, received through trade or otherwise obtained by Snap in the course of the

          services it offers, as alleged herein. Such Class members include, at the least, those who have used

          Snapchat's Lenses and Filters features.

                  68.     Snap systematically and automatically collects, captures, purchases, receives

          through trade, or otherwise obtains Plaintiff and putative Class members' biometric identifiers

          without first obtaining the necessary written release, as required by 740 ILCS 14/15(b)(3).

                  69.     Snap failed to inform Plaintiff and putative Class members in writing that their

          biometric identifiers would be - and have been - collected, captured, purchased, received through




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     trade, or otherwise obtained through the use of the Snapchat application, as required by 740 ILCS

     14/15(b)(1)-(2).

              70.       Snap also failed to inform Plaintiff and putative Class members in writing of the

     specific purpose and the amount of time for which their biometric identifiers would be — and have

     been — collected, captured, purchased, received through trade, or otherwise obtained, as required

     by 740 ILCS 14/15(b)(1)-(2).

              71.       Snap did not receive a written release from Plaintiff and putative Class members

     allowing Snap to collect, capture, purchase, receive through trade or otherwise obtain biometric

     identifiers from Plaintiff and Class members, as required by 740 ILCS 14/15(b)(3).                         -

              72.     By collecting, capturing, purchasing, receiving through trade or otherwise
--                                                              - -- -           -         --            - - ------- -
                                                          — ve Class members biometric identifiers as
     obtaining without informed consenf Plaintiff's and putati

     described, Snap violated — and continues to violate — the rights of Plaintiff and putative Class

     members to keep private these biometric identifiers, as required by BIPA. Snap's violations

     actually harmed or posed a material risk of harm to the privacy interests that BIPA seeks to protect.

             73.      Snap's violations of BIPA were intentional and/or reckless, or, alternatively,

     negligent.

                                                  COUNT III
                      Violation of the Illinois Biometric Information Privacy Act
                                            740 ILCS 14/15(c)
                                      On Behalf of Plaintiff and The Class
             74.      Plaintiff incorporates by reference all of the foregoing allegations as if fully set

      forth herein.

             75.      740 ILCS 14/15(c) prohibits a private entity in possession of biometric identifiers

      or biometric information from selling, leasing, trading, or otherwise profiting from a person's

      biometric identifiers or biometric information.

             76.      Snap is a private entity under BIPA.

             77.      As alleged above, Snapchat's Lenses and Filters collect the biometric identifiers of

      users including Plaintiff and the Class Lenses and Filters are an important driver of Snap's


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 revenues, profits and growth in user base, as alleged above. Snap has directly profited from the
 'collection of users' bioirietric ideritifiers and/or biometric iriformdtion, in violation of 740 ILCS
 14/15(c), and these violations actually harmed or posed a material risk of harm to the privacy
 interests that BIPA seeks to protect.

         78.     Snap's violations of BIPA were intentional and/or reckless, or, alternatively,

 negligent.

                                        PRAYER FOR RELIEF

         WHEREFORE, Plaintiff K.F.C., through her guardian, Erin Clark, on behalf of herself and

 all others similarly situated, respectfully requests that this Court enter an Order:

         A.    Certifying this case as a class action;

         B.    Appointing Plaintiff as Class Representative, and Plaintiff's counsel as - Class

               Counsel;

         C.    Declaring that Snapchat's actions, as stated herein, violate the rights of Plaintiff and

               putative Class members under BIPA;

         D.    Awarding statutory damages of $5,000 per each intentional and reckless violation of

               BIPA pursuant to the statute, or, alternatively, statutory damages of $1,000 per each

               negligent violation of BIPA pursuant to the statute;

         E.    Awarding injunctive and equitable relief as necessary to protect the rights of Plaintiff

               and putative Class members under BIPA;

         F.    Awarding Plaintiff and the putative Class their reasonable litigation expenses and

               attorneys' fees;

         G.    Awarding Plaintiff and the putative Class pre- and post- judgement interest to the

               extent allowable; and,

         H.    Awarding such other and further relief as this Court deems just and proper.

                                        JURY TRIAL DEMAND
        Plaintiff demands a jury trial on all issues so triable.



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             Dated: November 17, 2020              Respectfully Submitted,
                                                   THE DRISCOLL FIRM LLC

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                                                                                                                 FILED
                                                                                           Williamson Co. Circuit Court
                                                                                                    1st Judicial Circuit
                                                                                           Date: 11/18/2020 11:34 AM
                                                                                                    Andrew W. Wilson


                                  IN THE CIRCUIT COURT
                                 FIRST JUDICIAL CIRCUIT
                           - =WILLIAMSON COUNTY, ILLINOIS                   -

 K.F.C., a minor, by and through her guardian,    )
 ERIN CLARK, individually and on behalf of        )
 all others similarly situated,                   )
                                                  )
          Plaintiff,                              )
                                                  )          Case No. 2020L156
                                                  )

                    .                             )
          Defendant:                              )

                       MOTION TO APPOINT SPECIAL PROCESS SERVER

          COMES NOW Plaintiff, K.F.C., a minor, by and through her guardian, ERIN CLARK,

 individually and on behalf of all others similarly situated, and hereby moves this Court to appoint

Michele Mannion, 2171 Greenbriar Road, Springfield, IL 62704 as a Special Officer for service

of summons, said person being over the age of 21 and having no interest in the above-captioned

matter.

          Dated: November 18, 2020                    Respectfully Submitted,
                                                      THE DRISCOLL FIRM LLC

                                                      /s/John J. Driscoll
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                                                 * pro hac vice forthcoming
                                                 Attorneys for Plaintiff and the Putative Class




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                                     IN THE CIRCUIT COURT
                                    FIRST JUDICIAL CIRCUIT
                                 WILLIAMSON COUNTY, IL-LINOIS

     K.F.C., a minor, by and through her guardian,    )
     ERIN CLARK, individually and on behalf of        )
     all others similarly situated,                   )
                                                      )
              Plaintiff,      -- -                   -)--
                                                      )         Case No. 2020L156
                                                      )
-    SNAP, INC.,                —                     )

              Defendant.                              )

                                         fPROPOSEDI ORDER                           -             -

              IT IS HEREBY ORDERED that Plaintiff's Motion to Appoint Special Process Server is

     GRANTED. Michele Mannion, 2171 Greenbriar Road, Springfield, IL 62704 is hereby

     appointed as a Special Officer for service of Summons in this matter.



     Dated:
